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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                                 Plaintiff,

            v.
                                                        Case No. 1:19-cv-00969
 STEVEN T. MNUCHIN, in his official
 capacity as Secretary of the United States
 Department of the Treasury, et al.,

                                 Defendants.




            JOINT STATUS REPORT ADDRESSING FURTHER PROCEEDINGS

       Pursuant to the Court’s June 4, 2019 Order, the parties hereby submit the following status

report addressing further proceedings in this case.

       1.        On June 10, 2019, the House of Representatives will file a notice of appeal of the

Court’s memorandum opinion and order (ECF Nos. 54 & 55) denying the House’s motion for a

preliminary injunction.

       2.        On or before June 14, 2019, the House of Representatives will file a motion to

amend its complaint to add a new claim alleging a violation of Section 9002 of the Department

of Defense Appropriations Act, 2019. See House Reply Memorandum at 3 n.1 (ECF No. 45).

Defendants do not oppose this amendment.

       3.        The parties agree that the Court should grant the House’s motion to amend and in

the same order deny injunctive relief with respect to Section 9002 and dismiss the amended

complaint for lack of standing for the reasons set forth in the Court’s memorandum opinion and


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order denying the House’s motion for a preliminary injunction. The House respectfully

disagrees with the Court’s standing decision, but the parties are in agreement that there is no

need for any further proceedings or briefing in this case and the Court should immediately

dismiss the amended complaint for lack of jurisdiction and enter final judgment so that the

House may promptly appeal that order. The House also intends to file a motion before this Court

seeking an injunction pending appeal; Defendants will oppose the House’s motion.

        4.       Following entry of final judgment, the House intends to file a notice of appeal of

that order.



 Dated: June 10, 2019                                  Respectfully submitted,

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                                                                     /s/
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